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                                          UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF DELAWARE


            In re                                                         Chapter 11

            OPEN ROAD FILMS, LLC, a Delaware                              Case No.: 18-12012 (LSS)
            limited liability company, et al.,1
                                                                          (Jointly Administered)
                                       Debtors.


                           NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                             FOR HEARING ON DECEMBER 19, 2018 AT 2:30 P.M. (ET)

            CONTESTED MATTERS GOING FORWARD

            1.       Debtors’ Motion for Orders: (A)(I) Establishing Bid and Sale Procedures Relating to the
                     Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the Debtors to Enter
                     Into an Asset Purchase Agreement with Stalking Horse Bidder, (III) Establishing and
                     Approving Procedures Relating to the Assumption, Assignment and Sale of Certain
                     Executory Contracts and Unexpired Leases, Including Notice of Proposed Cure Amounts
                     and (IV) Scheduling a Hearing to Consider the Proposed Sale and (B)(I) Approving the
                     Sale of Substantially All of the Debtors’ Assets, (II) Authorizing the Assumption,
                     Assignment and Sale of Certain Executory Contracts and Unexpired Leases, and
                     (III) Granting Certain Related Relief [D.I. 9, 9/6/18]

                     Response Deadlines:                                    November 2, 2018 at 4:00 p.m. (ET) for
                                                                            sale and cure responses (for the Official
                                                                            Committee of Unsecured Creditors, the
                                                                            deadline to object to the sale is 8:30 a.m.
                                                                            (ET) the day of the sale hearing) and
                                                                            November 7, 2018 at 4:00 p.m. (ET) for
                                                                            adequate assurance responses [Each
                                                                            deadline having been extended for certain
                                                                            parties]

                     Sale Responses Received:                              See Exhibit A attached hereto

                     Cure and Adequate Assurance Responses Received: See Exhibit B attached hereto




            1
                 The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                 Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC
                 (5873-Del.); Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions
                 LLC (9375-Del.). The Debtors’ address 1800 Century Park East, Suite 600, Los Angeles, CA 90067.
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                 Amended items appear in bold.
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                Related Documents:

                   A.      Notice of Motion [D.I. 50, 9/7/18]

                   B.      Notice of Filing of (I) Proposed Sale Order and (II) Proposed Form APA
                           [D.I. 124, 10/1/18]

                   C.      Order: (1) Approving Bid and Sale Procedures, (2) Approving Assumption,
                           Assignment and Cure Procedures and Related Notices, (3) Establishing Date
                           for Auction and Approving Related Procedures, (4) Scheduling the Sale
                           Hearing and Related Deadlines, and (5) Granting Related Relief [D.I. 160,
                           10/9/18]

                   D.      Notice of Auction and Sale Hearing [D.I. 166, 10/11/18]

                   E.      Notice of Proposed Assumption and Assignment of Executory Contracts and
                           Unexpired Leases [D.I. 172; 10/12/18]

                   F.      Submission of Affidavits of Publication Regarding Notice of Auction and sale
                           Hearing [D.I. 183, 10/18/18]

                   G.      Notice of Filing of (I) Stalking Horse Agreement, (II) Summary of Proposed
                           Bid Protections, and (III) Summary of Proposed Amendments to Bid
                           Procedures Order [D.I. 216, 10/23/18]

                   H.      Order Authorizing and Approving Certain Bidding Protections, Amendments
                           to Bid Procedures Order, and Granting Related Relief [D.I. 239, 10/26/18]

                   I.      Amended Notice of Auction and Sale Hearing [D.I. 243, 10/26/18]

                   J.      Notice of Filing of Schedule of Contracts with Amended Cure Amounts
                           [D.I. 248, 10/30/18]

                   K.      Notice of Filing of Proposed Stalking Horse Order [D.I. 256, 10/31/18]

                   L.      Notice of Filing of Stalking Horse Bidder’s Proposed Adequate Assurance of
                           Future Performance [D.I. 299, 11/3/18]

                   M.      Notice of (I) Filing of (A) Updated Schedule of Purchased Titles and
                           (B) Stalking Horse Bidder’s Schedule of Available Contracts Designated as
                           Assumed Contracts, and (II) Extension of Designation Cut-Off Date [D.I. 300,
                           11/3/18]

                   N.      Notice of Cancellation of Auction [D.I. 314, 11/5/18]

                   O.      Notice of (I) Adjourned (A) Omnibus Hearing and (B) Sale Hearing, and
                           (II) Further Extension of Designation Cut-Off Date [D.I. 330, 11/6/18]

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                P.      Notice of Further Extension of Designation Cut-Off Date [D.I. 360, 11/9/18]

                Q.      Notice of (I) Adjourned (A) Omnibus Hearing and (B) Sale Hearing and
                        (II) Further Extension of Designation Cut-Off Date [D.I. 367, 11/13/18]

                R.      Notice of (I) Filing of (A) Further Updated Schedule of Purchased Titles and
                        (B) Stalking Horse Bidder’s Updated Schedule of Available Contracts
                        Designated as Assumed Contracts, and (II) Further Extension of Designation
                        Cut-Off Date [D.I. 384, 11/16/18]

                S.      Debtors’ Omnibus Reply in Support of Motion to (I) Approve the Sale of
                        Substantially All of the Debtors’ Assets, (II) Authorize the Assumption,
                        Assignment, and Sale of Certain Executory Contracts and Unexpired Leases,
                        and (III) Grant Related Relief [Sealed Version at D.I. 386, 11/19/18; Redacted
                        Version at D.I. 387; 11/19/18]

                T.      Debtors’ Motion for Entry of an Order Authorizing the Debtors to File Under
                        Seal Certain Exhibits to the Declaration of Amir Agam in Support of the
                        Debtors’ Omnibus Sale Reply [D.I. 388, 11/19/18]

                U.      Debtors’ Motion for an Order (A) Granting Leave and Permission to File
                        Debtors’ Omnibus Reply in Support of Motion to (I) Approve the Sale of
                        Substantially All of the Debtors’ Assets, (II) Authorize the Assumption,
                        Assignment, and Sale of Certain Executory Contracts and Unexpired Leases,
                        and (III) Grant Related Relief and (B) Authorizing the Debtors to Exceed the
                        Page Limitation Requirements [D.I. 391, 11/19/18]

                V.      Notice of Filing of Revised Proposed Stalking Horse Sale Order [D.I. 394,
                        11/20/18]

                W.      Notice of (I) Filing of (A) Fourth Schedule of Purchased Titles and
                        (B) Stalking Horse Bidder’s Third Schedule of Available Contracts
                        Designated as Assumed Contracts, and (II) Further Extension of Designation
                        Cut-Off Date [D.I. 404, 11/21/18]

                X.      Notice of Further Extension of Designation Cut-Off Date [D.I. 416, 11/28/18]

                Y.      Notice of Filing of First Amendment to Stalking Horse Agreement [D.I. 425,
                        12/4/18]

                Z.      Notice of Further Extension of Designation Cut-Off Date [D.I. 432, 12/10/18]

                AA.     Notice of Filing of Second Revised Proposed Stalking Horse Sale Order [D.I.
                        439, 12/12/18]




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                    BB.     Notice of Filing of Third Revised Proposed Stalking Horse Sale Order [D.I.
                            446, 12/12/18]

                    CC.     Notice of Filing of Fourth Revised Proposed Stalking Horse Sale Order [D.I.
                            457, 12/12/18]

                    DD.     Notice of Further Extension of Designation Cut-Off Date [D.I. 461, 12/13/18]

                    EE.     Notice of (I) Filing of (A) Fifth Schedule of Purchased Titles and
                            (B) Stalking Horse Bidder’s Fourth Schedule of Available Contracts
                            Designated as Assumed Contracts, and (II) Further Extension of
                            Designation Cut-Off Date [D.I. 475, 12/18/18]

                    FF.     Notice of Filing of Proposed Amendment to Stalking Horse Agreement
                            [D.I. 478, 12/19/18]

                    GG.     Notice of Filing of (I) Fifth Revised Proposed Stalking Horse Sale Order
                            and (II) Exhibit B to Such Order [D.I. 479, 12/19/18]

                 Status:    This matter is going forward.

            2.   Redrover Co. Ltd.’s Motion for Entry of an Order Compelling Assumption or Rejection
                 of Executory Contracts, Adequate Protection, and Related Relief [D.I. 222, 10/23/18]

                 Response Deadline:                              November 2, 2018 at 4:00 p.m. (ET)
                                                                 [Extended until November 6, 2018 for the
                                                                 Debtors]

                 Responses Received:

                    A.      Reservation of Rights of Endgame Releasing Co., LLC and Endgame
                            Releasing Funding, LLC [D.I. 294, 11/2/18]

                    B.      Debtors’ Limited Objection [D.I. 325, 11/6/18]

                 Related Documents:                              None

                 Status:    This matter is going forward.




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            Dated: December 19, 2018                 /s/ Robert F. Poppiti, Jr.
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                                                           EXHIBIT A – SALE RESPONSES

                Docket      Date Provided
                                           Respondent                                                          Status
                No.         or First Filed
                                           Universal Music Enterprises, a Division of UMG Recordings,
        1         280           11/2/18    Inc., Universal Music Corp., Songs of Universal, Inc. and           Resolved in principle
                                           Universal Tunes, a Division of Songs of Universal Inc.
                                           Silver Reel Entertainment Mezzanine Fund, L.P. and Host Film
        2         284           11/2/18                                                                        Resolved in principle
                                           Holdings, LLC
        3       285 & 342      11/2/18      The Film Musicians Secondary Markets Fund                          Resolved in principle
                                            Fox 2000 Pictures, a division of Twentieth Century Fox Film
        4         286          11/2/18                                                                         Resolved
                                            Corporation
        5       288 & 289      11/2/18      All I See Partners 2015, L.P.                                      Resolved in principle
                                            Endgame Releasing Co., LLC, Endgame Releasing Funding, LLC
        6         293          11/2/18                                                                 Resolved in principle
                                            and Happy Pill Distribution, LLC
                                            Viacom International Inc. and its affiliates, including
        7       295& 353       11/2/18      Awesomeness Distribution, LLC and Paramount Pictures       Resolved in principle
                                            Corporation
                305, 315,
        8                      11/5/18      Showtime Networks Inc.                                             Resolved in principle
                 & 347
                                            Entertainment One UK Limited, Entertainment One Benelux BV,
        9         307          11/5/18                                                                         Resolved
                                            Entertainment One Canada, Inc.
        10        310          11/5/18      Turner Entertainment Networks, Inc.                                Resolved
                                            Directors Guild of America, Inc., the Screen Actors Guild-
                                            American Federation of Television and Radio Artists, the Writers
        11        320          11/6/18      Guild of America, West, Inc. and their respective Pension and      Resolved
                                            Health Plans, as well as the Motion Picture Industry Pension and
                                            Health Plans




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                Docket   Date Provided
                                        Respondent                                                   Status
                No.      or First Filed
       12         333       11/6/18    Happy Pill Distribution, LLC and Happy Pill, LLC              Resolved in principle
                                       Endgame Releasing Co., LLC and Endgame Releasing Funding,
       13 334 & 336         11/6/18                                                                  Resolved in principle
                                       LLC
       14         338       11/6/18    Spotlight Film, LLC                                           Resolved in principle

       15         344       11/7/18    Redrover Co., Ltd.                                            Resolved in principle




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                                            EXHIBIT B – CURE/ADEQUATE ASSURANCE RESPONSES

                Docket     Date Provided                              Respondent                                        Status
                 No.       or First Filed
        1       Informal     10/16/18       Digital Cinema Distribution Coalition, LLC                      Resolved

        2       Informal     10/19/18       Good Films Enterprise, LLC                                      Resolved

        3       Informal     10/22/18       Dolphin Max Steel Holdings, LLC                                 Resolved

        4       Informal     10/26/18       Showtime Networks Inc.                                          Resolved in principle

        5       Informal     10/26/18       Cinemark USA                                                    Resolved

        6       Informal     10/31/18       FullScreen, Inc.                                                Resolved

        7         247        10/30/18       mOcean Pictures, LLC                                            Moot

        8         262         11/1/18       FilmNation International, LLC                                   Moot

        9         264         11/1/18       Stampede Post Productions, Inc.                                 Resolved

        10        265        10/30/18       BLT Communications, LLC                                         Moot

        11        270         11/1/18       American Multi-Cinema, Inc. aka AMC Theatres                    Moot

        12        272         11/2/18       Scorpions GBR                                                   Resolved

        13        273         11/2/18       Universal Studios Home Entertainment LLC                        Resolved

        14        275         11/2/18       Google LLC f/k/a Google Inc.                                    Moot




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                Docket      Date Provided                                Respondent                                          Status
                 No.        or First Filed
       15         276          11/2/18       Veritas Technologies LLC                                            Moot

       16         279          11/2/18       Studiocanal S.A.S.                                                  Resolved in principle
                                             Universal Music Enterprises, a Division of UMG Recordings, Inc.,
       17         280          11/2/18       Universal Music Corp., Songs of Universal, Inc. and Universal       Resolved in principle
                                             Tunes, a Division of Songs of Universal Inc.
       18         282          11/2/18       Sous Chef, LLC                                                      Resolved in principle

       19 283 & 342            11/2/18       The Film Musicians Secondary Markets Fund                           Resolved
                                             Silver Reel Entertainment Mezzanine Fund, L.P. and Host Film
       20         284          11/2/18                                                                           Resolved in principle
                                             Holdings, LLC
                                             Fox 2000 Pictures, a division of Twentieth Century Fox Film
       21         286          11/2/18                                                                           Resolved
                                             Corporation
       22         287          11/2/18       BBG Home Again LLC                                                  Resolved in principle

       23 288 & 289            11/2/18       All I See Partners 2015, L.P.                                       Resolved in principle

       24         290          11/2/18       Lakeshore Entertainment Productions LLC                             Moot
                293, 334,                    Endgame Releasing Co., LLC, Endgame Releasing Funding, LLC
       25                      11/2/18                                                                           Resolved in principle
                 & 336                       and Happy Pill Distribution, LLC
                                             Viacom International Inc. and its affiliates, including Awesomeness
       26         295          11/2/18                                                                           Resolved in principle
                                             Distribution, LLC and Paramount Pictures Corporation
                                             Entertainment One UK Limited, Entertainment One Benelux BV,
       27         307          11/5/18                                                                           Resolved
                                             Entertainment One Canada, Inc.




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                Docket     Date Provided                                Respondent                                         Status
                 No.       or First Filed
                                            Directors Guild of America, Inc., the Screen Actors Guild-
                                            American Federation of Television and Radio Artists, the Writers
       28         319         11/6/18       Guild of America, West, Inc. and their respective Pension and      Resolved in principle
                                            Health Plans, as well as the Motion Picture Industry Pension and
                                            Health Plans
       29         333         11/6/18       Happy Pill Distribution, LLC and Happy Pill, LLC                   Resolved in principle

       30         338         11/6/18       Spotlight Film, LLC                                                Resolved in principle

       31         344         11/7/18       Redrover Co., Ltd.                                                 Resolved in principle

       32         347         11/8/18       Showtime Networks Inc.                                             Resolved in principle

       33       Informal     11/13/18       Listen First Media                                                 Moot

       34         385        11/19/18       Sous Chef, LLC—Supplemental                                        Resolved in principle

       35       Informal      11/6/18       El Paso Productions, Inc.                                          Resolved

       36         450        11/12/18       Roadshow Films Pty Ltd.                                            Moot




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